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                                  CERTIFICATE OF SERVICE

         I hereby certify that on October 4, 2018, a true and accurate copy of the documents that were
filed as Docket Entries 13 and 14 via the Court’s electronic-filing (ECF) system was sent to all parties
by operation of the Court’s ECF system and has been mailed to those parties, if any, by certified mail
who are not served via the Court’s ECF system; namely:

Evan T. Sirlin
1344 Huckleberry Lane
Hewlett, NY 11557

Dated: October 4, 2018
                                                                  s/ Todd C. Bank
                                                                Todd C. Bank
